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 7                               IN THE UNITED STATES DISTRICT COURT

 8                            FOR THE EASTERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA,

10                             Plaintiff,

11                     v.                                    No. 3:11-cr-0014-EFB

12   DUANE E. POOLE, et al.,

13                             Defendants.

14                                                   /

15   UNITED STATES OF AMERICA,

16                             Plaintiff,

17                     v.                                    No. 2:13-mj-0097-AC

18   DUANE E. POOLE,

19                             Defendant.                    RELATED CASE ORDER

20                                                   /

21              Examination of the above-entitled criminal actions reveals that actions are related within

22   the meaning of E.D. Cal. Local Rule 123. The actions involve the same parties, the same event,

23   and similar questions of fact and law, and would therefore entail a substantial duplication of

24   labor if heard by different judges. Accordingly, the assignment of the matters to the same judge

25   is likely to effect a substantial savings of judicial effort and is also likely to be convenient for the

26   parties.

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 1          The parties should be aware that relating the cases under Local Rules 123 merely has the

 2   result that both actions are assigned to the same judge; no consolidation of the actions is

 3   effected. Under the regular practice of this court, related cases are generally assigned to the

 4   judge to whom the first filed action was assigned.

 5          IT IS THEREFORE ORDERED that the action denominated No. 2:13-mj-0097-AC be,

 6   and the same hereby is, reassigned to the undersigned for all further proceedings. Henceforth the

 7   caption on all documents filed in the reassigned case shall be shown as 2:13-mj-0097-EFB.

 8          IT IS FURTHER ORDERED that the Clerk of the Court make appropriate adjustment in

 9   the assignment of cases to compensate for this reassignment.

10   DATED: July 10, 2013.

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